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In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

* * * * * * * * * * * * * * * * * ** * * *
JOSEPHINE FRANCO                         *
                                         *           No. 13-650V
                    Petitioner,          *           Special Master Christian J. Moran
                                         *
v.                                       *           Filed: April 6, 2015
                                         *
SECRETARY OF HEALTH                      *           Stipulation; influenza (“flu”) vaccine;
AND HUMAN SERVICES,                      *           Guillain-Barré syndrome (“GBS”).
                                         *
                    Respondent.          *
* * * * * * * * * * * * * * * * * ** * * *
Donald Philip Edwards, Atlanta, GA, for Petitioner;
Michael P. Milmoe, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                              UNPUBLISHED DECISION1

       On April 1, 2015, respondent filed a joint stipulation concerning the petition
for compensation filed by Josephine Franco on September 6, 2013. In her petition,
petitioner alleged that the influenza vaccine, which is contained in the Vaccine
Injury Table (the “Table”), 42 C.F.R. §100.3(a), and which she received on
September 9, 2010, caused her to suffer Guillain-Barré Syndrome (“GBS”).
Petitioner further alleges that she suffered the residual effects of this injury for
more than six months. Petitioner represents that there has been no prior award or
settlement of a civil action for damages on her behalf as a result of her condition.

       Respondent denies that the flu vaccine caused petitioner's alleged GBS, or
any other injury, and further denies that petitioner's current disabilities are sequelae
of a vaccine-related injury.


       1
          The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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      Nevertheless, the parties agree to the joint stipulation, attached hereto as
Appendix A. The undersigned finds said stipulation reasonable and adopts it as the
decision of the Court in awarding damages, on the terms set forth therein.

        Damages awarded in that stipulation include:

        A lump sum payment of $100,000.00 in the form of a check payable to
        Josephine Franco. This amount represents compensation for all
        damages that would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 13-650V according to this decision
and the attached stipulation.2

        Any questions may be directed to my law clerk, Mary Holmes, at (202) 357-
6360.

        IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




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          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

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                   lN THE UNITED STATl \S COU RT OF FEDERAL CLAIMS

                                 OFFICE OF SPECIAL MASTERS

JOSEPHINE FRANCO,                              )
                                               )
                Petitioner,                    )       No. 13-650V
                                               )       Special Master
        v.                                     )       Cl lR ISTlAN J. MORAN
                                               )
SECRETARY OF IIEALTII                          )
AND HUMAN SERVICES,                            )
                                               )
                Respondent.                    )
~~~~~~~~~~~~~~)

                                           STIPULATION

        The parties hereby stipululc to the fo llowing matters:

        l. Rita Stauffer, petitioner, filed a petilion for vaccine compensation under the National

Vaccine Inj ury Compensation Progrnm, 42 U.8.C. §JOOaa-10 to 34 (the "Vaccine Program").

The petition seeks compensation for inj uries alleged ly related lo petitioner's receipt of the

in fluenza ("flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the "Table"),

42 C.F.R. § I 00.3(a).

        2. Petitioner received n Ou vuccine on September 9, 20 I 0.

        3. The vaccine was administered within the United States.

        4. Petitioner alleges that she suffered Gu illain-Oarrc syndrome ("GBS"), which was

caused-in-fact by the flu vaccine. Petitioner f'urlher alleges that she suffered the residual effects

ol this injury for more than six months.

        5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on her behalf as a result of her condition.
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          6. Respondent denies that the   nu vacci ne caused petitioner's alleged UBS, or any other
inj ury, and further denies that petitioner's current disabil ities are sequclae of a vaccine-related

injury.

          7. Maintain ing their above-stated positions, the parties nevertheless now agree that the

issues hetwecn them shall be settled und that a decision shou ld be entcrt:d award ing the

compensution described in paragraph 8 of this Stipulation.

          8. As soon as practictiblc after an entry of j udgment reflecting a decision consistent with

the terms of this Stipulation, and allcr petitioner has filed an election to receive comptmsation

pursuant to 42 U.S.C. § 300aa-2 I (a)( I), the Secretory of ITeallh and Human Services will issue

the fol lowing vaccine compensation payment:

                 a lump sum of$ I00,000.00 in the form of a check payabl e to petitioner
                 representing nil damages available under 42 U.S.C. § 300aa-1 5(a).

          9. As soon as practicable after the entry ofjudgmcnt on entitlement in this case, and after

pclilioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § J OOaa-2 I(a)( I), and an application, the parties will submit to   furthe~·   proceedings before

the special master to award rensonable attorneys' foes and costs incurred in proceeding upon this

petition.

          10. Petitioner and her ntlorncy represent that they have iclenlified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), including Slatc cumpensalion programs, insurance policies,

Federal or State health benefits programs (other than Ti tle XIX of the Social Security Act (42

U.S.C. § 1396 ct seq.)), or entities that provide health services on a prepaid basis.




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         I I . Payment made pursuant to paragraph 8, and any amounts awarded pursuant to

paragraph 9 of th is Stipu lation, will be made in accordance with 42 U.S.C. § 300aa-l 5(i), subject

to the availability of suf'ficient statutory runds.

        J2. The parties and their allorncys fu1ther agree and s"tipulate that, except for any award

for allorneys' fees and litigation costs, the money provided rrnrsuant to this Stipulation will be

used solely for the beneiil of petitioner as contemplated by a strict construction of 42 U.S .C.

§ 300aa- I 5(a) and (d), and subject to the conditions of' 42 U.S.C. § 300aa-JS(g) and (h).

        13. Jn return for the payments descri bed in paragraphs 8 and 9, petitioner, in her

individ ual capacity, and on behalf of her heirs, executors, administrators, successors, and

assigns docs forever irrevocably und unconditionally release, acquit and dischurge the United

States and the Secretary of l lealtJ1 and Human Services from uny and all actions or causes of

action (including agreements, judgments, claims, damages, loss or services, expenses and all

demands of whatever kind or nature) that have been brought, could have been brnughl, or could

be timely brought in the United States Court of Federal Claims, under the National Vaccine

Injury Compensation Program, 42 U.S.C. § 300aa- l 0 et seq., on account of, or in any wuy

growing out of, any and olI known or unknown, suspected or unsuspected personal injuries to or

death of petitioner resulting from, or alleged to have resulted from, the nu vaccine administered

on September 9, 20 I 0, as all eged by petitioner in u petition for vacci ne compensation filed on or

about September 6, 20 13, in the United States Court of Federal Claims ns petition No. l3-650V.

        14. If petitioner should die prior to entry ofjudgment, this agreement shall be voidable

upon proper notice lo the Court on behalf of either or bolh of the parties.

        15. Ir the special master fa ils to issue a decision in complete conformity with the terms

of' this Stipulation or if the United States Cou1t ofl!edernl Claims fails to enter j udgment in


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conl01mity with a dccision lhal is in complete confo rmity with the terms of this Stipulation, then

the parties' settlement and this Stipulation shall be voidable at the sole discretion of either party .

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury /\ct of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absol utely no agreement on the part of the

parties hereto to make any payment or do any acl or thing other than is herein expressly stated

and clearly agreed lo. The patties further agree and understand that the awnrd described in this

Stipulat ion may reflect a compromise of the patties' respective positions as to liability and/or

amount of dnmagcs, and further, that a change in the nature or the irtiury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. Th is Stipulation sha ll not be constl'ucd as an admission by the United States or the

Secretary of l leallh and I luman Services that the flu vaccine caused petitioner's alleged OBS, or

any ot11cr injury, or that her current disabilities arc sequclnc of her alleged vaccine-related

injuries.

        18. All rights and obligations of petitioner hereunder shall npply equally to petitioner's

heirs, executors, adm inistrators, successors, and/or assigns.

                                      ENO or :;T!PULJ\TlON




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Respectfully i;ubmittcd,

l'ETITIONEn:

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